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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

ROBERT K. GULLO and
LAURIE A. GULLO,

       Plaintiffs,

v.                                              CASE NO.: 6:15-CV-669-ORL-40KRS

POLLACK & ROSEN, P.A. and
REGIONS BANK,

       Defendants.
                                    /

               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       COMES NOW Plaintiffs, Robert K. Gullo and Laurie A. Gullo, by and through the

undersigned counsel, and hereby files this Notice of Voluntary Dismissal With Prejudice of the

above captioned matter.

                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was served on this

26th day of January, 2016 by transmission of Notices of Electronic Filing generated by CM/ECF

on all counsel of record.


                                                   /s/ Jared M. Lee
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